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                        Exhibit “3”
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                        SEC v. Complete Business Solutions Group, Inc., et al.
                       Case No. 20-cv-81205-RAR (U.S. District Court, S.D. Fla.)

                      NOTICE TO ALL CREDITORS AND INVESTORS RE:
                              DEADLINE TO SUBMIT CLAIMS

    The U.S. District Court for the Southern District of Florida in the above case has ordered that all
    creditors of Complete Business Solutions Group, Inc. and other entities that have been included
    as Receivership Entities in this case must submit a Proof of Claim form prior to the deadline
    below to be considered eligible to receive a distribution from the Receivership Estate being
    administered by Ryan K. Stumphauzer, Esq., the Court-Appointed Receiver.

    DEADLINE/BAR DATE: All Proofs of Claim must be submitted by no later than 11:59
    p.m. (prevailing Eastern Time) on _________, 2023 (the “Claims Bar Date”).

     A properly completed and signed Proof of Claim Form, together with supporting documentation,
     must be timely submitted to the Receiver’s Claims Agent by: (i) uploading it to the claims portal,
     which is available on the Receiver’s website at http://www.parfundingreceivership.com; (ii) mail
     to Par Funding Receivership Claims Processing Center, c/o Epiq Corporate Restructuring, LLC,
     P.O. Box 4421, Beaverton, OR 97076-4421; or (iii) courier service addressed to Par Funding
     Receivership Claims Processing Center, c/o Epiq Corporate Restructuring, LLC, 10300 SW
     Allen Blvd., Beaverton, OR 97005, such that if uploaded to the claims portal or sent by courier
     service, it is delivered to the Claims Agent no later than the Claims Bar Date, or if sent by mail it
     is postmarked no later than the Claims Bar Date.

     Additional information is available at: http://www.parfundingreceivership.com

    Failure to submit or deliver, or mail so that it is postmarked, a Proof of Claim prior to the Claims
    Bar Date will result in your claim being forever barred.
